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            EXHIBIT “I”
               Case
                Case23-01129-mkn
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 2

 3
        Entered on Docket
 4 ___________________________________________________________________
       September 06, 2023

 5

 6

 7
     RICK A YARNALL                                                         9/5/2023
                                                                 E-Filed: ____________
 8   Chapter 13 Bankruptcy Trustee
     Daniel Riggs, Esq.
 9   Nevada Bar No. 12270
     701 Bridger Ave., Ste 820
10   Las Vegas, NV 89101
     (702) 853-4500
11   RAY13mail@lasvegas13.com

12                              UNITED STATES BANKRUPTCY COURT

13                                        DISTRICT OF NEVADA

14    In re:                                           Case No.23-12054-mkn
                                                       Chapter 13
15
      TERESA RENITA BURWELL                            ORDER ON TRUSTEE’S MOTION TO
16                                                     DISMISS CASE PURSUANT TO 11 U.S.C. §
                                                       1307(c)(1), (3) AND (4)
17
                                     Debtor.           Hearing Date: August 31, 2023
18                                                     Hearing Time: 2:00 p.m.

19             Trustee’s Motion to Dismiss Case Pursuant to 11 U.S.C. § 1307(c)(1), (3) and (4) having

20   come on for hearing in the above-entitled Court on August 31, 2023, at 2:00 p.m., with counsel

21   appearing on behalf of Chapter 13 Bankruptcy Trustee, RICK A. YARNALL, other appearances as

22   noted on record, argument having been heard, and based upon the papers and pleadings on file

23   herein, and good cause appearing:
Case
 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-9
                        42 Entered
                            Entered09/06/23
                                    11/30/2311:10:47
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